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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES                                          CRIMINAL ACTION



VERSUS                                                 NO: 13-66



WALTER PORTER                                          SECTION: R



                               ORDER AND REASONS

        Defendant Walter Porter moves the Court to suppress out-of-court and

in-court identifications of Porter by Milton Keith Hamilton.1 For the following

reasons, the Court denies the motion.



I.      BACKGROUND

        Porter is charged with murdering Christopher Smith on November 21,

2010. Specifically, a second superseding indictment charges Porter with

committing murder-for-hire (Count 2) and causing death through a firearm

(Count 3), as well as conspiracy to possess firearms (Count 4).2 Porter pleaded

not guilty, and his jury trial is scheduled for March 7, 2016.


        1
            R. Doc. 313.
        2
            R. Doc. 99.
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      According to the Government's theory of the case, co-defendant

Nemessis Bates hired Porter and co-defendant Aaron Smith to kill the victim

after the victim stole Bates's jewelry. Bates was tried by jury and found guilty

in June 2015.

      A.        Hamilton's Trial Testimony

      During Bates's trial, the Government introduced testimony from Bates's

ex-boyfriend, Milton Keith Hamilton.3 Hamilton testified, in relevant part that

Bates told him that Christopher Smith had stolen his jewelry. According to

Hamilton, Bates was very upset about the theft. Hamilton testified that Bates

eventually admitted to Hamilton that he ordered a "hit" on Christopher Smith.

Hamilton testified that Bates asked him for money to pay off the killers, but

Hamilton refused to become involved.

      Hamilton also testified that during this time period, he regularly visited

Bates at a carwash that Bates owned. During one such occasion, Hamilton

inquired about Bates's Mercedes.4 Bates responded that he had placed "a

$10,000 hit" and that the killers had taken the Mercedes as collateral.5


      3
        Unless otherwise noted, the Court takes all facts concerning evidence presented
at Bates's trial from its September 10, 2015 order denying Bates's motion for a judgment
of acquittal and a new trial. R. Doc. 284.
      4
          R. Doc. 313-4 at 14 ("Hamilton Trial Transcript").
      5
          Id. at 14-15.

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Hamilton further testified that he began to notice two individuals frequenting

the carwash in a white Chevrolet Trailblazer. On one occasion, Bates told

Hamilton, "Well, there they go. They're looking for their money," which

prompted Hamilton to memorize the white Trailblazer's license plate number.6

In his testimony, Hamilton identified the driver of the white Trailblazer as

Aaron Smith and the passenger as Porter. When asked how many times he

had seen these men in the white Trailblazer at the carwash, Hamilton testified,

"several--or maybe a dozen times."7

      Hamilton also testified that on December 25, 2010, Bates arrived at

Hamilton's house asking for money. Hamilton testified that he saw a white

Trailblazer parked outside but that he "could not see who was in it because it

was nighttime."8 According to Hamilton, Bates said, "[D]o you have any

money? Because they putting pressure. I think they're going to kill me."

Hamilton refused to give Bates any money.

      Finally, Hamilton testified to a home invasion and shooting that

occurred on June 11, 2011, six months after Bates asked Hamilton for money

at his house. Hamilton testified that on that day, Aaron Smith and Porter


      6
          Id. at 16-17.
      7
          Id. at 19.
      8
          Id. at 20, 30.

                                      3
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broke into Hamilton's house, shooting and injuring Hamilton, and shooting

and killing his long-time partner, Anthony Wilmore.

      The Government produced evidence corroborating much of Hamilton's

account. Aaron Smith testified at length concerning the murder-for-hire plot.

According to Aaron Smith, Bates offered to pay him and Porter $20,000 for

the murder of Christopher Smith. He further testified that on the morning

after Porter carried out the "hit," Aaron Smith and Porter went to Bates's

carwash to collect their fee. Consistent with Hamilton's account, Aaron Smith

testified that because Bates was unable to pay the entire cost of the hit, he

gave his Mercedes to Aaron Smith and Porter as collateral. He further testified

that over the course of several months he and Porter met Bates at the carwash

multiple times in attempts to collect the money.

      The Government also introduced the testimony of Federal Bureau of

Investigations Special Agent William C. Williams, who the Court accepted as

an expert in the field of historical cell site analysis. Special Agent Williams

testified that phone records for a phone associated with Porter indicated that

Porter was in the vicinity of Bates's carwash on several occasions following

Christopher Smith's murder in November 2010.




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      B.     Porter's Allegations of Police Misconduct

      As noted, during Bates's trial in June 2015, Hamilton testified to a home

invasion and shooting that occurred at his residence on June 11, 2011. It is

undisputed that on that day, two gunmen broke into Hamilton's home. A

struggle ensued, and the gunmen shot Hamilton, and shot and killed

Hamilton's partner, Wilmore. During Bates's trial in June 2015, Hamilton

testified that the two gunmen were Aaron Smith and Porter.

      In this case, Porter is not charged with any crime stemming from the

June 11, 2011 home invasion and shooting. In his motion to suppress,

however, Porter alleges that the New Orleans Police Department's ("NOPD")

investigation of that crime was "shoddy" and that suggestive remarks that one

detective made to Hamilton tainted any identifications of Porter that Hamilton

might provide in this case.

      According to Porter, during the months that followed the June 11, 2011

home invasion, Hamilton worked closely with law enforcement and even

conducted his own investigation into the identity of the gunmen who shot him

and killed Wilmore. Despite these efforts, however, Hamilton was allegedly

unable to make any firm identification.9 Porter alleges that Hamilton did not

      9
         R. Doc. 313-1 at 2-5. Porter alleges, for instance, that although Hamilton
identified Aaron Smith as a suspect in the home invasion in July 2011, Hamilton failed
to identify Aaron Smith when law enforcement showed him a single color photograph.

                                           5
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identify Porter as one of the gunmen until some time after October or

November 2011. Porter alleges that during that time period, NOPD Detective

Orlando Matthews informed Hamilton that bullet casings recovered from

Hamilton's home matched casings found at the scene of the murder of a

different individual, Curtis Matthews, and that Porter was a suspect in that

shooting.    According to Porter, this statement was highly suggestive,

particularly as it was made at a time when "the murder case had run cold" and

Hamilton "was understandably willing and eager to aid the police in . . .

[solving] the murder of his long-time partner." Porter alleges that it was not

until Detective Matthews made this statement that Hamilton began

"connecting the two together" and believing that Porter was involved in the

home invasion.

      As evidence of Detective Matthews's influence on Hamilton, Porter cites

testimony that Hamilton gave during Bates's trial:

      Q.     Did there come a point in time when you learned of the connection
             between the gun that was used in your--the killing of [Wilmore] to
             Walter Porter?

      A.     From Detective Orlando Matthews.


Porter also alleges that after seeing news reports containing a photograph of another
individual, Joshua Moore, Hamilton told authorities that he was "positive" that Moore
was the person who shot and killed Wilmore. According to Porter, despite this initial
confidence, Hamilton was expressed uncertainty as to Moore's involvement when he
was presented with a six-person photo array containing Moore's image.

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      Q.        And what did you learn?

      A.        About the ballistics of the gun. And that it was with Walter Porter
                and what we was shot with, and that's what made me start
                connecting the two together. Because Walter Porter used to hang
                out at the carwash.10

Other than Detective Matthews's disclosure concerning a ballistic link, Porter

does not allege any other instances of suggestive police conduct.

      C.        Porter's Motion to Suppress

      Porter moves to suppress all identifications of Porter by Matthews.

Porter argues that "Hamilton's mind crystallized around" Porter as a result of

Detective Matthews's impermissible influence. He contends that the Court

must therefore suppress all of Hamilton's out-of-court identifications of

Porter, as well as any in-court identification that Hamilton might provide at

trial of Porter at the carwash, on December 25, 2010, or at the Wilmore

homicide."11 The Government opposes the motion.




      10
           R. Doc. 313-1.
      11
           Id. at 14.

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II.   DISCUSSION

      A.    Evidentiary Hearing

      As an initial matter, the Court finds it unnecessary to hold an evidentiary

hearing on Porter's motion to suppress. "An evidentiary hearing is required

on a motion to suppress only when necessary to receive evidence on an issue

of fact." United States v. Harrelson, 705 F.2d 733, 737 (5th Cir. 1983).

Because there are no factual issues in dispute that are material to Porter's

motion, the Court will resolve the motion to suppress on the briefs. United

States v. Kirk, 528 F.2d 1057, 1064 (5th Cir. 1976) (finding that it was

appropriate for trial court to decide suppression motion without an evidentiary

hearing when the issue was one of law).

      B.    Suppression of Hamilton's Identifications of Porter

      In his motion, Porter alleges that the Court must suppress any and all

out-of-court and in-court identifications of Porter by Hamilton. Porter's

motion references three identifications in particular:

      •     Hamilton's identification of Porter as one of the two gunmen who
            broke into Hamilton's home on June 11, 2011, shooting and
            injuring Hamilton and shooting and killing Wilmore.




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      •         Hamilton's identification of Porter in a January 15, 2013 photo
                lineup as an "individual visiting [Bates's] car wash on a daily
                basis."12

      •         Hamilton's identification of Porter as present when Bates visited
                Hamilton asking for money on December 25, 2010.

The Court addresses each identification in turn.

                1.      Hamilton's Identification of Porter as one of the
                        Gunmen in the June 11, 2011 Home Invasion

      First, Porter argues that the Court must suppress any in-court

identification by Hamilton indicating that Porter was one of the gunmen who

broke into Hamilton's residence on June 11, 2011, shot Hamilton, and killed

Wilmore. Citing testimony that Hamilton gave during the June 2015 trial of

Porter's co-defendant, Bates, Porter argues that this identification is unreliable

and resulted from impermissibly suggestive remarks made to Hamilton by an

NOPD detective. While the Government filed an opposition memorandum,13

it submits that it does not intend to introduce evidence of the June 11, 2011

murder of Wilmore and attempted murder of Hamilton against Porter in this

case.14 In light of the Government's submission, the Court need not rule on

Porter's motion to suppress any in-court identification by Hamilton suggesting


      12
           Id. at 14.
      13
           R. Doc. 336.
      14
           R. Doc. 366.

                                          9
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Porter's involvement in the June 11, 2011 shootings. Should the Government

change course, the Court will decide the relevant issues at that time. The

Government shall notify the Court in advance of any change of position

regarding the proffered use of this evidence.

               2.     Hamilton's Photo Array Identification of Porter as
                      an Individual "Visiting the Car Wash on a Daily
                      Basis"

      Second, Porter objects to Hamilton's identification of Porter as one of

the individuals who frequently visited Bates's carwash. As noted, during

Bates's trial in June 2015, Hamilton testified that he frequently visited Bates's

carwash and that during the period following Christopher Smith's murder, he

began to notice that two individuals came to the carwash frequently in a white

Trailblazer. Hamilton further testified that Bates told Hamilton that he owed

the men money for "a $10,000 hit" and that they were "looking for their

money." In January 2013, law enforcement officers interviewed Hamilton in

connection with the Christopher Smith murder. During that interview, FBI

Special Agent Keith Burris and Jefferson Parish Detective Jeffrey Rodrigue

presented Hamilton a six-person photo array that included Porter's image.15

Hamilton identified Porter's photograph and signed and dated the photo



      15
           R. Doc. 313-13.

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array. On the back of that document, Hamilton wrote "Individual visiting car

wash on a daily basis."16 Porter argues that this photo identification resulted

from impermissibly suggestive and "shoddy" police practices and that the

Court must suppress the out-of-court identification and in-court testimony

concerning that identification.

       The Supreme Court has held that the Due Process Clause of the Fifth

Amendment guarantees criminal defendants the right to exclude identification

testimony that results from unnecessarily suggestive procedures that are

conducive to mistaken identification. See Perry v. New Hampshire, 132 S. Ct.

716, 724-25 (2012); Stovall v. Denno, 388 U.S. 293, 302 (1967). The test for

determining the admissibility of an in-court identification is two-pronged.

First, a court must determine whether the pretrial identification procedure

was impermissibly suggestive. Neil v. Biggers, 409 U.S. 188, 198-99 (1972);

Livingston v. Johnson, 107 F.3d 297, 309 (5th Cir. 1997). If the identification

procedure was not impermissibly suggestive, the inquiry ends. See United

States v. Honer, 225 F.3d 549, 553 (5th Cir. 2000); Livingston, 107 F.3d at

309.        If the procedure was impermissibly suggestive, the Court must

determine "whether based on the totality of the circumstances, the [procedure]



       16
            R. Doc. 313-14.

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posed a very substantial likelihood of irreparable misidentification." Honer,

225 F.3d at 553. The Supreme Court has set forth five factors that bear on the

likelihood of irreparable misidentification: (1) the witness's opportunity to

view the perpetrator at the time of the crime; (2) the witness's degree of

attention; (3) the accuracy of the witness's prior description; (4) the level of

certainty demonstrated when making the identification; and (5) the time

between the crime and the identification. Biggers, 409 U.S. at 199-200; see

also United States v. Burbridge, 252 F.3d 775, 780 (5th Cir. 2001).

                  a.    Suggestiveness of Identification Procedures

      Hamilton identified Porter as one of the individuals at Bates's carwash

from a six-person photo array.        Generally, in determining whether a

photographic identification was impermissibly suggestive, a court need only

evaluate the photo array itself and the facts surrounding its presentation.

United States v. Kimbrough, 481 F.2d 421, 424 (5th Cir. 1973) (citing United

States v. Sutherland, 428 F.2d 1152, 1156 (5th Cir. 1970)). "Whether other

more desirable methods of identification . . . were available, or whether there

was a compelling need for speedy identification, are just not relevant to a

determination of the impermissibly suggestive issue." Id. at 424-25.

      Here, Porter does not allege that the photo array was suggestively

composed. There is no allegation, for instance, that the other individuals in

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the array had physical characteristics "drastically dissimilar" to Porter's, "thus

clearly singling him out and suggesting him for identification . . . ." United

States v. Taylor, 530 F.2d 639, 641 (5th Cir. 1976); see also Simmons v.

United States, 390 U.S. 377, 383 (1968) (noting that photo array may be

impermissibly suggestive when the defendant's photograph "recurs or is in

some way emphasized").17 Nor does Porter allege that Detective Rodrigue or

Special Agent Burris made any suggestive statements or presented the array

in a manner that might single out Porter for identification. Absent a plausible

allegation that the photo identification procedure was tainted by

impermissibly suggestive police conduct, Porter's motion to suppress must

fail. See Reese v. Cain, 265 F. App'x 230, 231-32 (5th Cir. 2008) (finding that

suppression of photo identification was not warranted because even if

witnesses were told that suspect was in custody before viewing the photo

array, defendant failed to substantiate his conclusory assertion that the array

was suggestively composed); United States v. Lang, No. CRIM A.04-11, 2005

WL 517337, at *3 (E.D. La. Mar. 2, 2005) (holding that suppression of photo




      17
         Indeed, having reviewed the photo array--which consists of six photographs of
equal size, each set against a blue background, and each depicting an African American
man with short hair and similar facial features--the Court finds that the array is not
impermissibly suggestive.

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array identification was unwarranted when neither the photographs nor the

"overall presentation of the photographic line-up . . . was unduly suggestive).

      To resist this conclusion, Porter argues in general terms that Hamilton's

photo identification was unreliable because it occurred after Detective

Matthews made suggestive statements to Hamilton about Porter. Porter's own

motion makes clear, however, that Detective Matthews's statements did not

concern the Christopher Smith murder or Porter's presence at Bates's carwash

following that event. Rather, those statements dealt with the ballistics

evidence developed in NOPD's investigation into the June 11, 2011 shooting

of Hamilton and Wilmore at Hamilton's residence, a crime that is not at issue

in this case. Porter contends that although Detective Matthews made his

statement in connection with a different criminal investigation, he nonetheless

affected Hamilton's ability to determine whether Porter was one of the men

who frequented Bates's carwash in a white Trailblazer. Beyond his conclusory

assertion that Detective Matthews caused Hamilton's mind to "crystallize

around Mr. Porter and his presence at the carwash,"18 however, Porter

provides no specific factual allegations to support his position. See United

States v. de la Fuente, 548 F.2d 528, 534 (5th Cir. 1977) (holding that



      18
           Id. at 1.

                                      14
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"defendants must at least allege particular facts which would tend to indicate

some government impropriety and that general, conclusory allegations based

upon mere suspicions do not entitle a defendant to have evidence

suppressed"). As noted, the shooting at Hamilton's residence and Porter's

alleged visits to Bate's carwash occurred at different periods of time. These

events were investigated at different times and by different law enforcement

entities. Thus, even accepting as true Porter's allegations of misconduct by

NOPD Detective Matthews in late 2011, Porter has failed to demonstrate that

the photo identification procedures that Special Agent Burris and Jefferson

Parish Detective Rodrigue employed in January 2013 were constitutionally

defective. See United States v. Caicedo-Asprilla, 632 F.2d 1161, 1169 (5th Cir.

1980) (holding that "to be constitutionally offensive, the allegedly

impermissible suggestivity must have a nexus with the purpose or probative

value of the questioned testimony" and that suppression is unwarranted when

the information that the offensive procedure suggests "is uncontested or not

closely linked to the purpose or probative value of the testimony derived" from

that procedure).

      Because Porter has failed to carry his burden of establishing that

Hamilton's photo identification resulted from an impermissibly suggestive

procedure, the Court need not consider the second prong of the test, and

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Porter's motion must fail.       See Livingston, 107 F.3d at 309 ("If the

identification procedure is not impermissibly suggestive, the inquiry ends.");

see also United States v. Sanchez, 24 F.3d 1259, 1262 (10th Cir. 1994) ("These

two prongs must be analyzed separately, and it is only necessary to reach the

second prong if the court first determines that the array was impermissibly

suggestive.").

                  b.     Reliability of Identification

      Even if the photo identification were impermissibly suggestive, however,

the record does not establish a substantial likelihood of misidentification.

During the June 2015 trial of Porter's co-defendant, Bates, Hamilton testified

at length concerning his observations of Porter at Bates's carwash. Hamilton

was cross-examined, and the trial transcript is available to Porter as part of the

public record. Having reviewed this record and the parties' briefs, the Court

finds that upon weighing the five factors of reliability set forth by the Supreme

Court, Hamilton's photo identification of Porter is sufficiently reliable and

need not be suppressed. Biggers, 409 U.S. at 199; Brathwaite, 432 U.S. at 114.

      As to the first two factors, Hamilton's opportunity to view Porter and his

degree of attention, Hamilton testified that he regularly spent time at Bates's

carwash, where he would have conversations with Bates. He further testified



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that on one occasion, he inquired about Bates's black Mercedes Benz.19

According to Hamilton, Bates responded that he had placed "a $10,000 hit"

and that the murderers had taken the car for collateral.20 Hamilton further

testified that during this period, he began to notice that two individuals came

to the carwash frequently in a white Trailblazer. On one occasion, Bates told

Hamilton "Well, there they go. They're looking for their money," which

prompted Hamilton to memorize the white Trailblazer's license plate

number.21 When asked how many times he saw the two men at the carwash,

Hamilton testified: "I seen them several--or maybe a dozen times."22 As this

testimony indicates, Hamilton saw the white Trailblazer frequently over an

extended period of time, giving him ample opportunity to observe its

occupants. Alerted to the two individuals' possible involvement in a "$10,000

hit," Hamilton paid close attention during their visits, even committing the

vehicle's license plate number to memory. These factors weigh heavily in favor

of a finding of reliability. See McFadden v. Cabana, 851 F.2d 784, 786, 790

(5th Cir. 1988), cert. denied, 489 U.S. 1083 (1989) (finding that reliability was


      19
           Hamilton's Trial Testimony, at 14.
      20
           Id. at 14-15.
      21
           Id. at 16-17.
      22
           Id. at 19.

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strengthened when witnesses viewed robbers for about fifteen minutes at noon

in a well-lit store); United States v. Brown, No. CRIM.A. 08-87, 2008 WL

4724307, at *4 (E.D. La. Oct. 24, 2008) (finding bank teller's identification of

robber reliable when witness had a good view of the robber and ample time to

observe him).

      As to Hamilton's level of certainty, when law enforcement presented

Hamilton the six-person photo array, Hamilton identified Porter as one of the

men who frequented Bates's carwash. At trial, Hamilton made the same

identification confidently and without hesitation. This also weighs in favor of

a finding of reliability. See United States v. Gatti, No. CIV. 06-0411, 2008 WL

4500329, at *5 (W.D. La. Oct. 3, 2008) (finding that reliability was

strengthened when witness testified to shooter's identity "without hesitation

and without even a hint of doubt"). Lending further reliability to Hamilton's

identification is that substantial portions of his testimony during the Bates

trial were corroborated by other evidence. For instance, consistent with

Hamilton's account, Aaron Smith testified that in the days and months

following Christopher Smith's murder, Aaron Smith and Porter went to Bates's

carwash on multiple occasions in attempts to collect payment for the "hit." In

addition, testimony from an historical cell site expert indicated that Porter was



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in the vicinity of Bates's carwash on multiple occasions during the period

immediately following Christopher Smith's death.

      The only factor that weighs against reliability is time.23 Two years passed

between Hamilton's observations of Porter at Bates's carwash and his January

2013 photo identification. Although relevant to the analysis, this factor alone

not does not render Hamilton's identification inadmissible. See, e.g., United

States v. Larkin, 978 F.2d 964, 970 (7th Cir. 1992) (upholding the admission

of identification testimony in a robbery case where lineups occurred after a

period of ten months and two years and two months, respectively, from the

time of the robbery); United States v. Williams, 596 F.2d 44, 49 (2nd Cir.

1979) (upholding admission of identification testimony based upon the other

reliability factors when the time between the crime and the identification was

two years and eight months); see also United States v. McCray, 948 F. Supp.

620, 624 (E.D. Tex. 1996), aff'd in part, vacated in part sub nom., 179 F.3d

230 (5th Cir. 1999) (concluding in a case involving a delay of two years and

two months that "[w]hile this delay . . . is hardly ideal, it is certainly not

unprecedented, and does not of itself disqualify identification testimony").

      23
         The third Biggers factor, the accuracy of any description that the witness made
prior to making his or her identification, is not relevant on these facts. Neither Porter
nor the Government has indicated that Hamilton provided a description of the men who
frequented Bates's carwash at any point prior to his selection of Porter from the six-
person photo array.

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      On balance the Court finds that these factors weigh in favor of a finding

that Hamilton's January 2013 photo identification was reliable. Thus, even if

Detective Matthews's statements to Hamilton in October and November 2011

rendered the identification procedure impermissibly suggestive, suppression

is unwarranted.

               3.     Hamilton's Identification of Porter as Being
                      Present at Hamilton's Residence on December 25,
                      2010

      Finally, Porter argues that the Court must suppress Hamilton's

identification of Porter as being present at Hamilton's residence on December

25, 2010. As noted, during Bates's trial, Hamilton testified that on that date

Bates went to Hamilton's house and asked him for money. Contrary to

Porter's assertion, however, Hamilton never testified that he saw Porter on

that day.24 Rather, Hamilton testified that when Bates arrived at his front

door, Hamilton saw the white Trailblazer from the carwash parked at the curb.

On direct examination, Hamilton admitted that because it was night he was

unable to see who was inside the vehicle.25 Hamilton reiterated this point




      24
         To the extent that Porter relies on a characterization of Hamilton's testimony in
a previous order, the testimony speaks for itself.
      25
           R. Doc. 313-4 at 20.

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during cross examination, stating that because of the darkness "I couldn't see

individuals, but I recognized the vehicle."26

      The parties have given the Court no reason to believe that Hamilton's

testimony will be different during Porter's trial. Because Hamilton has never

indicated that he saw Porter on December 25, 2010, the Court need not rule

on Porter's motion to suppress in-court identifications by Hamilton suggesting

Porter's presence at Hamilton's house on that date. Should Hamilton's

testimony on this point differ substantially during Porter's trial, the Court will

decide the relevant issues at that time.



III. CONCLUSION

      For the foregoing reasons, the Court DENIES Porter's motion to

suppress.



             New Orleans, Louisiana, this 23rd
                                          ___day of February, 2016.

                        _____________________________

                                SARAH S. VANCE
                         UNITED STATES DISTRICT JUDGE




      26
           Id. at 30.

                                       21
